Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 1 of 44




                Exhibit A
                           Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 2FORofCOURT
     A!lJlRl'ftY OR PARTY WITiiOUT ATTORNEY~ Slate~--. Md~:
                                                                                          44 USE Ol'tLY
      Tbe House of Figurine Sculptures ub.io LLC.
      Brain K. Carter Pro-Se Litigant
          17 Overlook Court
      Fairfeild ,Ohio 45014
                lE.EPttOHE NO..   513-942-1468                        FAJC NO .   NIA                                  E~. JlJ 0Rs E0
     . .ATTORNEY
    .sUPERtOR                .FOR(~):
        .,.-. . ;.;.:. ;;;. .coURT             NIA
                               . . . . . .~;.:.;,._--------------...,,...----,,=----------------------------1
                                           OF CALIFORNIA. COUNTY OF Santa Clara
                                                                                                                        -

                SlREETADDRESS: 161 North First Street San Jose, CA 95113                                   20 6 H.~R 29 Mi ll: 13
           MAIUHG ADDRESS:        191 North First Street
           aTY AHo ZIP cooe:      San Jose CA. 95113
                  ~!WE:           OLD COURTHOUSE
      CASE NAME:
      The House of Fi                      · e Scul           Ohio LLC v. Yahoo Ince orated
           CML CASE COVER SHEET                                           Complex Case Designation
    [1J         Unlimited
                (Amount
                                    D
                               Limited
                               (Amount
                                                           Counter    0        Jainder       D
                demanded       demanded Is          Flied wfth first appearance by defendant JUDGE:
                exceeds $25,000)
                               $25,000 or less)         (Cs!. Rules of Court. rule 3.402)     DEPT·
                                  Items 1-6 below must be completed see instructions on pa 2 •
    1. Check one box below for the case type that best desaibes this case:
          Auto Tort                                               Contract                                       Provisionally Complex Civil Litigation
                                                                  D
          E3    Auto (22)
                    Uninsured motorist (46)
          Other PUPOIWD (PersonaJ Injury/Property
                                                                  0
                                                                  D
                                                                        Breach of c:omnicttwam1nty (06)
                                                                          Rule 3.740 colledions (09)
                                                                          Other collections (09)
                                                                                                                 (Cal. Rules of Court, rules 3.40G-3.403)
                                                                                                                 D
                                                                                                                 0
                                                                                                                       Antitrust/Trade regulation (03)
                                                                                                                       Construction defect (10)
          DamagelWrongful Death) Tort                             D       Insurance coverage (18)                D     Mass tort {40}
          D    AsbestDs (04)                                      D     Other contract (37)                      D     Securities litlgallon (28)
          D    Product liability (24)                             Real Property                                  0     Environmental/Toxic tort (30)
          D    Medical malpractice {45)                           D     Eminent domain/Inverse                   D     Insurance coverage dalms arising from the
          0    Other Pl/PDIWD (23}                                      condemnation (14)                              above listed provisionally cmnplex case
          Non-PUPO/WO (Other) Tort                                D     Wrongful eviction {33)                         types (41)
          c::zJ     Business tcrtlunfalr business practice (07}   0    Other real property (26)                  Enforcement of Judgment
          D         Civil rights (08)                             Unlawful Detainer                              D     Enl'orcement of judgment (20)
          D         Defamation (13)                               D       Commercial (31}                        Miscellaneous Civil Complaint
          D         Fraud ( 16)                                   D       Residential (32)                       D     RICO (27)
          D         lnteHectuaI property (19)                     D       Drugs (38)                             D     Other complaint (not specified above) (42)
          D         Professional negligence (25)                  Judicial Review                                Miscellaneous Civil PetlUon
          D         Other non-Pl/PO/WO tort (35)                  D       Asset forlellure (OS)                  D     Pannership and corporate governance (21)
          IEmjloyment                                             D       Petition re: arbitration award (1'f}   D     Other petition (not specified above) (43)
                Wrongful tennination (36)                         D       Writ of mandate (02)
                    other employment (15)                                 Other dlcial review 39)
    2. This case         is         is not complex under rule 3.400 of the California Rules of Court If the case is complex, mark the
       factors requiring exceptfonal judicial management
          a. D         Large number of separately represented parties                   d.   D    Large number of witnesses
           b.   D      Extensive motion practice raising diff!Ctllt or novel            e.   D Coordination with related actions pending in one or more courts
                       Issues that will be tfme..a>nsumlng to resolve                          In other counties, states, or countries, or in a federal court
          c. 0         Subs1antlal amount of documentary ellldence                      f. [Z] Substantial postjudgment judicial supervision
    3. Remedies sought (check all that apply): a.12] monetary                        b.O         nonmonetary; declaratory or Injunctive relief              c. Dpunitive
    4. Number of causes of action (specify):
    5. This case         Is D              lZJ
                                    Is not a class action suil
    6. If there are any known related cases, file and serve a notice of related case. (You may use fonn CM-015.)

    Date:
    Brian K. Carter
                                                                                                    Q
                                                                                                  • J.2dd41.~
                                                                                                                         ~',;;fr:::-
                                                                                                                             -H---·
                                        (TYPEOR PRINT NAME)                                                 (SIG~~TTORNEY FOR PARTY)
                                                                             NOTICE
      •   Plaintiff must file this oover sheet with the first paper filed in the action or proceeding (except sman claims cases or cases filed
          under !he Probate Code, Family Code, or Welfare and lnstitlJtions Code). (Cal. Rules of Court, rule 3.220.} Failure to file may result
          In sanctions.
      •   File this cover sheet In addition to any cover sheet required by local court rule.


c     •

      •
          If this case Is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
          other parties to the action or proceeding.
          Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.

                                                                  CML CASE Co,,n:a SHEET
                                                                                                                                                                        ';t.:;_ t of
                                                                                                                           Cal Rules flf eaurt. ntcs 2.30. 3.220. 3.4CIG-a.403. 1740;
                                                                             '.. ~                                               Cal. SlanclC'1ls Cf ..'lodldll ~ - 3.10
                                                                                                                                                               -- ~DOV
                    Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 3 of 44



      1                                             APPENDIX
      2
          Civil Complaint Cover Sheet •••••••••••••• . •. •. ••. . .. . •••••••• ••••••. •••. ••••••••••. (i)
      3

      4   AIJIJe11clix ...•.••••••.••••.•••.••••••••••••••••••••••.•••...••••••••••••••.••••••.••••••••. (ii)
      5
          Cover Letter Parties of Action Jurisdiction and Venue ••• •• •• .• •• ••••• •• •• •• (iii)
      6

      7   Service Mark In.ttoduction •••••••.••••••••••••••.•••...•••••••••••••.•..•••••••••••••• (1)
      8
          Plaintiff- Brian K. Carter United States Patent and
      9

     10   Trademark Certificate (E.xhibit A) ..••...•.•.••••••••••••.••.••••••••••••••.•••••••. (2)
     11
          Plaintiff - Brian K. Carter State of Ohio Limited Liability
     12

     13   Company Certificate (Exhibit B) ••••..•.•.•••••••••...••••••••••••••••.••••••••••••• (3)
     14
          Defendant Use of Counterfeit Marks ••••••••••.•...••••••••••••••.•••••.••••••••.• (4
     15

     16   Defendant Counterfeit Marks Used and Sold in Advertisements
     17
          The House of Figurine Scnlptures Image Result (Exhibit C) .... ... .. .... ... (5
     18

     19
          More The House of Figurine Scnlptures Images

     20   Likelih.ood of Confusion •••••••••.•••••••••••••••••.•.•••.•.•••••••.••••••.••••••.•••• (6)
     21
          Case Hist()cy •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••• (7)
     22

     23   Plaintiff Register Domain Name Expiration (Exhibit D) ..................... (8
     24
          Prayer for Relief •••••••••••. . •. •••••••••••. ••. . ••••••. . . . . . ••••••••••••••••. ••••••••••••• (9)
     25

     26   Certificate of Service ..•.•••••••.•. •.••.••••.••••••.•..•.•••••••••••••••••••.••••••.•. (10
     27
          Declaration Under Penalty of Perjury •••••••••••.•.•••••••••......••.••••..•...•• (11)
     28

(J
                                                       [Pleading Title ] - l
..               Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 4 of 44



      1
          I. PARTIES OF THE ACTION
                                                                          ENDORSED
0 2                                                                    1016 HAR 29 AH 11: r
          PLAINTIFF:
                                                           DEFEND.~      ....<~ '•c;~.cSimaCrut
      3
          The House of Figurine Sculptures Ohio LLC.             i'1.,t,~~o! :i,;·;.; ~ lZIY'\1
      4   Brian K. Carter - Pro Se Litigant                Yahoo Inc.         ~ /t    r~•iGd:'I
      5   17 Overlook Court                                701FirstAveSu~ate
          Fairfield, Ohio 45014                            California 94089
      6
          Telephone: (513) 942-1468                        Telephone: (408) 349- 3300
      7

      8
                          SUPERIOR COURT OF CALIFORNIA
                         COUNTY OF SANTA CLARA                                       g3 3 O
      9                                                                t6CV 2
     10   THE HOUSE OF FIGURINE           >Case No.
          SCULPTURES OHIO LLC.,           }
     11                                   > Title: VIOLATION OF LANHAM A<;L,
          BRIAN K. CARTER,                >        TRADEMARK INFRINGEME1~ 1,
     12                                   >        15 U.S.C. ~1125 FALSE
                     Plaintiff,           i        DESIGNA"TION OF ORGIN,
     13   v.                              i        FALSE DESCRIPTIONS,
                                          i        TRADEMARK
     14   YAHOO INCORPORATE,              i        COUNTE~EITING ACT OF 1984
     15                                   >      Gd'\ ~ ~\."-- ~ t--d(
          · - - - -Defendant.
                    -------               )

     16

     17
           Il. BASIS OF JURISDICTION
     18
                                       JURISDICTION
     19    The Superior Court of California has original jurisdiction to hear claims
     20
          arising under Lanham Act, Title 28 U.S.C.§1338(a), Title 28 U.S.Code
          §1332(a)(l)(c)(l), Title 28 U.S.C. §1331.
     21

     22                                    VENUE
     23    Venue is proper because; Yahoo Incorporated has a principal place of
          business located at 701 First Ave. Sunnyvale, California 94089. Plaintiff
     24
          Brian K. Carter resides in Fairfield, Ohio 45014; Plaintiff principal place
     25   of business located at 17 Overlook Court Fairfield, Ohio 45014.Plaintiff
     26   United States Patent Trademark Office principal registration is 17
     27
          Overlook Court Fairfield, Ohio 45014.
                                           (iii)
     28

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                                         (Pleading Title] - 1
..               Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 5 of 44



      1                    SERVICE MARK INTRODUCTION
 0    2

      3
          (I) United States Patent and Trademark Office, examining attorney

      4   Linda E. Blohm approved Plaintiff principal register service mark; The
      5
          House of Figurine Sculptures.com® November 10, 2009. A
      6

      7   comprehensive trademark search report had been conducted in all 50
      8
          states including the State of California, Santa Clara before (USPTO)
      9

     10   approved Plaintiff - Brian K. Carter principal register.
     11
          (II) Plaintiff service mark registration number 3, 708, 174 International
     12

     13   Class: 035, service mark description for online retail store services
     14
          featuring selection of gifts, home and garden decor, and a large selection
     15

     16   of figurine sculptures. The mark consist of standard characters without
     17
          claim to any particular font, style, size or color and does not include
     18
          graphic design or images and no claim is made to the exclusive rights to
     19

     20   use Figurine Sculpture - Sculpture Figurine apart of the service mark.
     21
          (III) Plaintiff service mark; The House of Figurine Sculptures.com® is
     22

     23   owned by Plaintiff Ohio Domestic Limited Liability Company in
     24
          commerce. The House of Figurine Sculptures Ohio LLC., register with
     25

     26   the Ohio Secretary of State Entity number 1920675, Docket Id number
     27
          201007000794.                        (1)
     28

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                                           [Pleading Title] - 2
    Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 6 of 44




                      EXHIBIT A

    United States Patent and Trademark Certificate




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    ..
    If
            Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 7 of 44




                                   The House of Figurine
                                      Sculptures. com

         Reg. No. 3,708,174          CARTER. BRIAN (UNITED STATES INDIVIDUAL)
            Registered Nov. JO, 2009 17 OVERLOOK. CT.
                                     FAIRFIELD. OH 4S014

                  Int. Cl.: 35   FOR: ON·LINE RETAIL SlORE SERVICES FEATURING A HUGE SELECTION OF GIFTS.
                                 HOMEANDGARDEN DECOR. PERSONALCAREPRODUCTS,ANDA LARGE SELECTION
               SERVICE MARK      OF FIGURINE SCULPTURES, IN CLASS 35 (U.S. CLS. too, 101 AND 102).

         PRINCIPAL REGISTER FIRST USE 9-9-2006; IN COMMERCE 9-9-2006.
                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT. STYLE. SIZE. OR COLOR.

                                 NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT10 USE "FIGURINE SCULPnJRES.COM",
                                 APART FROM THE MARK AS SHOWN.

                                 SER. NO. 77-702,025, FILED 3-30-2009.

                                 LINDA E. BLOHM, EXAMINING A1TORNEY




                                                                                      '


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    •   Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 8 of 44




                           EXHIBITB


           State of Ohio Limited Liability Certificate




0
            Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 9 of 44
            LEGALZOOM.COM, INC.
            AITN:JACOB VARGHESE
            7083 HOLLYWOOD BLV0.,#180
            HOLLYWOOD, CA 90028
(


                           ST A TE OF OHIO
                                    CERTIFICATE
                          Ohio Secretary of State, Jennifer Brunner
                                                    1920675
        It is hereby certified that the Secretary of State of Ohio bas custody ofthe business records for
                             THE HOUSE OF FIGURINE SCULPTURES LLC
                        and, that said business records show the filing and recording of.

    Document(s)                                                                             Document No(s):
    ARTICLES OF ORGNZTN/DOM. PROFIT LIM.LIAB. CO.                                           201007000794




                                                                Witness my band and the seal of
                                                                the Secretary of State at Columbus,
                                                                Ohio this 10th day of March, A.O.
                                                                2010.


                 United States ofAmerica
                       State ofOhio
                                                           fi:)-"ib· ~--··
               Office ofthe Scctetary of State                 Ohio Secretary of State




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               Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 10 of 44



     1              DEFENDANT USE OF COUNTERFEIT MARKS
     2

     3
         (IV) Defendant intentional development and use of two active
     4   counterfeit marks identical to Plaintiff genuine mark titled; The House of
     5
         Figurine Sculptures - Image Result and More The House of Figurine
     6

     7   Sculptures Images, both are highlighted in blue font shown on page 5 of
     8
         Plaintiffs' complaint. Defendant use of counterfeit marks is for the sale of
     9

    10   goods and services described on Plaintiff (USPTO) certificate, such as
    11
         home and garden decorations, large selection of figurines, sculptures.
    12

    13
         Defendant counterfeit marks are substantially indistinguishable from
    14   Plaintiff genuine mark.
    15

    16
         (V) Defendant first counterfeit mark highlighted in blue font show cases 11
    17   different images. Defendant provides an additional active link within each
    18
         image, which allows the consumer to purchase the image of those goods and
    19

    20   services sold from companies not associated with Plaintiff genuine mark.
    21
         (VI) Defendant second counterfeit mark highlighted in blue font reads;
    22

    23   More The House of Figurine Sculptures Images. When consumers click
    24
         either one of Defendant active counterfeit marks highlighted in blue font.
    25

    26   Defendant is trafficking for sale a combine total of 200 different images of
    27
         goods and services currently being sold from 200 different companies.
    28                                      (4)
G
                                          [Pleading Title] - 3
.·   ..   Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 11 of 44



                                  EXHIBITC

              Defendant Counterfeit Marks Used and Sold in
              Advertisements

            i) The House of Figurine Sculptures Image Results

            ii) More The House of Figurine Sculptures Images




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          Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 12 of 44

      YAHOO!   the house of figurine sculptures                                                 Search


0              Web        Images       Video       News        More         Anytime : :



               related to the house of flAurfne sculptures




               More the house of figurine sculptures ads


               The House of Figurine Sculptures I Linkedln
               www.linkedin.com/pub/the-house-of-figurine ...
               View The House of Figurine Sculptures's professional profile on Linkedln. Unkedln is the
               world's largest business network, helping professionals like The House of ...



               The House of Figurine Sculptures LLC Review-.. .
               www.bbb.org > • •• > internet shopping
               BBB's Business Review For The House of Figurine Sculptures LLC that includes background
               infonnatlon. consumer experience, BBB Accreditation status. BBB Rating ...


               The House of Fif.}urine Sculptures - Image Results
                                                        .-
                                                        I                 --~----




               More The House of Figurine Sculptures images



               THE HOUSE OF FIGURINE SCULPTURES.com ... -...
               www.princetonwww.com/sculpturesmark.html             1

               Registered Trademark for Sale, Intellectual Property Description: Registered Trademark: The
               House of Figurine Sculptures.com® U.S. Classes: 100, 101 , and 102



               Customer Reviews for The House of Figurine ...
               www.bbb.org > ••• >internet shopping
0
of3                                                                                                       81412015 1:13 PM
               Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 13 of 44



     1                    LIKELffiOOD OF CONFUSION
0    2
         (VII) Defendant counterfeit marks disguised has images is a Web search
     3

     4   result shown at the top of Page 5 of Plaintiff complaint in red font, and
     5
         not a Image search result, Plaintiff has no connection to those goods and
     6

     7   services sold. Defendant counterfeit marks misrepresent designation of origin.
     8
         Plaintiff does not participate in shipment of those goods and services. Plaintiff
     9

    10
         does not partake in process of payments. Plaintiff does not refund money or
    11   take returns of goods and services purchased from Defendant counterfeit
    12
         marks.
    13

    14   (VIII) Defendant has created false sponsorships and endorsements that do not
    15
         exist. Defendant unlawful activity created liability for the Plaintiff and
    16

    17   jeopardize Plaintiff good business reputation. Defendant counterfeit marks is
    18
         deceptive, confusing, and is likely to cause mistake on the part of consuming
    19

    20   public. Defendant has prevented and stopped Plaintiff from use of legal
    21
         principle register service mark. Defendant continues to prevent the Plaintiff
    22

    23
         from legal registration of the domain name, due to confusion Defendant
    24   created through use of Plaintiff register service mark and domain name.
    25

    26

    27

    28                                        (6)
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                                          (Pleading Title ) - 4
               Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 14 of 44



     1

0    2   (IX) In essence, Defendant has engaged in business identity theft through the
     3
         development and use of two counterfeit marks which read completely
     4

     5   different, one is identical Plaintiff principle register mark the other identifies
     6
         Plaintiff business in commerce.
     7

     8
                                       CASE HISTORY

     9
         (X) Plaintiff conducted business with Defendant-Yahoo Inc. through
    10
         the purchase of an e-commerce webhosting (WH) website. Defendant offered
    11

    12   assistance with website development only, while conducting business with the
    13
         Defendant, United States Patent and Trademark Office approved Plaintiff
    14

    15   service mark. The House of Figurine Sculptures.com® was the domain name
    16
         register service mark applied to the website purchased from the Defendant.
    17

    18   (XI) Plaintiff had an ongoing client - business relationship with the Defendant
    19
         approximately 5 years consecutively, Plaintiff can provide the court with proo
    20

    21   of purchase for Defendant (WH) website. The Defendant was hired to provide
    22
         a service. Plaintiff provided the Defendant with Plaintiff business plans for
    23
         development of e-commerce website purchased from the Defendant and the
    24

    25   Plaintiff development of an Ohio Limited Liability Company.
    26

    27
                                                 (7)
    28

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    ".    Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 15 of 44



                                 ExhibitD
0
         Plaintiff Register Domain Name and Expiration Date




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    ..                  Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 16 of 44




c        Welcome! You are logged In as: brlancarter
                You heft ~ do!Mln(a) In this llCCOUnt     I Qdomain(•) aplrfng In nut 30 dllya I         Q dorMln(s) tt11t heft upll9d
                                                                                                                                                          Log um




         Select the group of domains you wish to vieiv            Tips· You may sOlt the domain names by dicking on tho SLD, TLD. and Expiry Date headers.

                                                                                                                   Whols Proof Expiry                 Domain
                Domain ( SLO I TLO )                                              Domain Expiry Date
                                                                                                                       1rha1 fr this'!               Password
           1. placethead.com                                                           20-Mar--2015              Not subscribed. Sign up              Dilabled
           2. lhehouseofbusinessadvertisements.92m                                     20-Mar-2015               Nol aubsa'lbed. ~                    Disabled
           3.   thehouseoffiqurinescµlptures.com                                       24-Jun-2015                 25-Jun-2015 ~                      Disabled
           4. wha!upapps.cqm                                                           01-Mar-2015               Not aubao1bed. ~                     Disabled




                                                                                                                                                                     ,
                                                                     Search Domain!.__ _ _ _ _ _ __,                  !any                   vi
                                                                                      You may search for list of domains that starts with or contains specific letters
                                                                         0 2012 Oomam Panel I All Rtgllts ResllfVed
                           Home    Add Oomaln   8~ Edit   Bulk Edit Statu5 Renew Domains Stat11 EPP Manage Name Setve1    Account tnlo   C~omer Suppor1




0
    https://domainpanel.com/member/main.pbp                                                                                                               10/24/2014
      .         Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 17 of 44



      1

0     2   (XII) The Defendant did not have authorization for use of or sell of the
      3
          Plaintiff principle register service mark or Plaintiff business identity in
      4

      5   commerce. Plaintiff became aware of Defendant use of the service mark,
      6
          when the domain name registration for The House of Figurine Sculptures
      7

      8
          .com® expired June 24, 2015. Shown on page 8 of the Plaintiff complaint is

      9   the Plaintiff register domain name and the domain name expiration date.
     10
                                   PRAYER FOR RELIEF
     11

     12   (I) Whereas Plaintiff seeks just compensation $5,000,000 for multiple
     13
          violations against principal register service mark under the Lanham Act,
     14

     15   and/or
     16
          There had been no legal binding agreements or contract between the
     17

     18   Plaintiff, and the Defendant for the cost of Defendant use and sell of
     19
          Plaintiff principle register service mark. The Plaintiff seeks $5,000,000.
     20

     21
          Defendant has already used and sold Plaintiff legal principle register service
     22   mark unlawfully for the Defendant commercial gain and profits.
     23
          Whereas Plaintiff is seeking all false advertisements from the Defendant
     24

     25   unlawful use be stopped immediately and removed from public access to
     26
          prevent further damage and liability to the Plaintiff business in commerce.
     27

     28                                        (9)
(J
                                            (Pleading Title] - 6
·.             Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 18 of 44



      1

0     2                       CERTIFICATE OF SERVICE
      3
           I Brian K. Carter hereby certify a copy of the forgoing was served
      4
          by U.S. postal service located in city of Fairfield, Ohio through
      5   overnight expressed mail upon Yahoo Incorporated, 701 First Ave,
      6   Sunnydale California 94089 this l_g_ day of March 2016.
      7

      8
          Date.S-\9- /(p
      9

     10                          The House of Figurine Sculptures Ohio LLC.
     11
                                 Brian K. Carter - Pro Se Litigant
     12

     13

     14

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                                        [Pleading Title] - 9
             Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 19 of 44



     l                                  Respectfully Submitted,
0    2

     3
         Date,S-l 9-/(o
     4
                                 The ilo'lise ofFi~e Sculptures Ohio LLC.
     5                           Brian K Carter - Pro Se Litigant
     6

     7

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     9

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    25

    26

    27
                                         (10)
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                                      [Pleading Title] - 7
                Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 20 of 44



     1
                       DECLARATION UNDER PENALTY OF PERRJilY
0    2

     3
          I Brian K. Carter declare under penalty of perjury, under laws of the State of
          California the following information contained in the complaint filed within
     4    Superior Court of California are true and accurate.
     5

     6
         Date    ?:,-1q-Jy;         04.u:wi ~
                                   The House of Figurine Sculptures Ohio LLC.
     7                             Brian K. Carter- Pro Se Litigant
     8

     9
         I Brain K. Carter declare under penalty of perjury under the laws of the United
    10   States of America, that the forgoing statements contained in this complaint filed
    11   within Superior Court of California County of Santa Clara, and any
         accompanying documents is true and correct.
    12

    13

    14
         Date    ~7Cj-{fo The~/Llffii'.!    ~
                               House of Figurine Sculptures Ohio LLC.
    15                             Brian K. Carter- Pro Se Litigant
    16

    17
          S 0 'v::>.Sc. 'b~...t.. be~ll:'.   01<?.- t")..) .S
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            d0\1o
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    22
                                                                        lAJNE A. TARTER
    23                                                                  NOTARYPUBUC
                                                                         STATE OF OHIO
    24                                                                 MY COMMISSION
                                                                      EXP: (, 15tg (j
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    28                                          (11)

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                                               [Pleading Title) - 8
Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 21 of 44




                Exhibit B
                       Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 22 of 44

                                           SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                          ~Ol..W'~ USO DE LA COR~
                                    (CITACION JUDICIAL)                                              EN. 00R~ l:. u
NOTICE TO DEFENDANT:
(AVJSO AL DEMANDADO):                                                                            20\6 ,AR 29 Atot ti: l 3
  Yahoo Incorporate 701 First Ave Sunnyvale California 94089

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
 The House of Figurine Sculptures Ohio LLC.
 Brian K. Carter 17 Overlook Court Fairfield, Ohio 40514
 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the infonnalion
 below.
    You have 30 CALENDAR DAVS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not prolect you. Your written response must be In proper legal fonn if you want the court lo hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the ca&fomla Courts
 Onlne Self-Help Cenler (www.courtinfo.cs.gov/selfhelp), your county law &brary, or the courthouse nearest you. If you cannot pay the filng fee, asft
 the court clerk for a fee waiver ronn. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There am other legal reqliremenls. You may want to can an allomey right away. If you do not know an atlomey, you may want to call an attorney
 referral sen/I~. If you cannot afford an attorney, you may be e&glble for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the CaBfomla Legal Services Web sile (wwwJaMhelpcalifomia.org), lhe California Courts Onine Self-Help Cenler
 (www.courtinfo.cs.gov/sellhelp), or by oontacttng your local court or oounty bar association. NOTE: The court has a slatulory Ren for waived fees and
 costs on any settlement or albltralion award of $10,000 or more In a dllil case. The court's ien must be paid before the oourt wlU dismiss the case.
 1AVISOI Lo han demandado. SJ no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versiOn. Lea la infotr11aci6n a
 conlinuaci6n.
    Tiene 30 DIAS DE CALENDARIO despuils de que le enlmguen esta citacl6n y pepeles legates pera presenter una respuesta por escrito en esta
 corle y hacar que se entmgue una copia al demandante. Una carte o una llamada te/ef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en fonnato legal conecto si desea qua p10C8sen su csso en la carte. Es posible que haya un fonnulario que usted pueda usar para su respuesta.
 Puede encontrar estos fotr11ularios de /a carte y mas fnfotmac/On en el Centro de Ayuda de las Cortes de Cslifomla (www..sucorte.ca.gov), en la
 blb/ioteca de feyes de su condado o en la carte qua le quede mas cen:a. SI no puede pagar la cuola de presenlaci6n, plda al secrelario de la corte
 que Je de un fonnulario de eJCenc/6n de pego de cuotas. SI no ptesenla su respuesta a tiempo, puede perder el csso por fncumplimiento y la corte le
 podriJ qullar su sue/do, dinero y bienes sin mas advertenda.
   Hay otros requisitos lega/es. Es recomendable que /tame a un abogado /nmediatamente. SI no conoce a un abogado, pueda lfamar a un servicio de
 remfsi6n a abogados. Si no puede pager a un abogado, es poslble qua cumpla con los requisitos para obtener servicios Jegales gratultos de un
 programs de serviclos Jegalas sin lines de Jucro. Puede encontrar estos grupos sin 6nes de lucro en el sllio Mtb de California Legal Services,
 (Www.lawhelpcatiromia.org). en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ponifmdose en contacto con la corte o el
 colegio de abogados locales. AV/SO: Por ley, la carte tiene derecho a redamar las cuolBs y Jos costos eJCentos por imponer un gravamen sobre
 cualquier recuparac/On de $10,000 6 mas de vamr recibids mediante un acuardo o una concesi6n de atbitraje en un csso de derecho civil. Trena qua
 pagar el gravamen de la carte antes de que la torte pueda desechar Bl caso.
The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                            (NflmltlO del CHO}:
                             Superior Court of California
(B nombre y direcci6n de la corte es):
County Santa Clara Old Courthouse, 161 North First Street San Jose
                                                                   CA                                               t6CV293308
95113. Mailing Address; 191 North First Street San Jose, CA 95113
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombra, la diraccion y el numero ~ te/efono de/ abogado de/ demandante, o de/ dfl_mandante que no liene abogado, es):
 Brian K, Carter Pro Se Litig~7[)Jjverlook Court Farifeild Ohio 45014 Telephone No. (513) 942-1468
                                               ~~~                                                     }-
DATE:                     MAR ! 9 Z016          ~~~-"Jr....                   Clerk, by                 •   Jtt._ ""-..                                  ,Deputy
 (Fecha)                                          ~"'V              (Secretario)          <:ii                                                            (Adjunto)
(For proof of service of this summons, use Proof of Se     of Summons (fotm POS-010).)
(Para prueba de entrega de esta citation use el fonnulario roof of Service of Summons, (POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1. D   as an individual defendant
                                      2. CJ as the person sued under the fictitious name of (specify):


                                      3.   CJ   on behalf of (specify):
                                           under:   CJ    CCP 416.10 (corporation)                           CJ        CCP 416.60 (minor)
                                                    D     CCP 416.20 (defunct corporation)                   CJ        CCP 416.70 (conservatee)
                                                    D     CCP 416.40 (association or partnership)            CJ        CCP 416.90 (authorized person)
                                                    CJ  other (specify):
                                      4.   D    by personal delivery on (date):
                                                                                                                                                            p     1of1
 form Adoplld fDr Mandalafy Use                                        SUMMONS                                                    Code ot Chill Piucedunt §§ 412.20, 465
   Judlc:illl Council of Calfamla                                                                                                                   w-cout1info.ca.oov
                             Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 23 of 44
...                                                                                                                                                       POS-010
           ATIORNEY OR PARTY WITliOUT ATTORNEY (N....,, Slate Bar ..-her, a.id llddrms):                                           FOR COURT USE ONLY
        The House ofFjgurine Sculptures Ohio LLC.
      - Brian K. Carter Plaintiff Pro Se- Litigant
        I 7 Overlook Court
        Fairfield, Ohio 45014
0                     TELEPHONE NO.:
       E--MAIL ADDRESS (Optional):
                                        513-942-1468
                                        NIA
                                                                    FAX NO. (Opllanal):   N/A

              ATTORNEY FOR (Name):      N/A
           SUPERIOR COURT OF CALIFORNIA COUNTY OF
                   sTREETADDRESS:161 North First Street San Jose, CA 95113
               MAILING ADDRESS:  191 North First Street
              CITY ANO ZIP CODE: San Jose, Cailfornia 95113
                  BRANCH NAME:   Old Courthouse
              PLAINTIFF/PETITIONER: Brian K. Carter Plaintiff Pro-Se Litigant                                    CASE NUMBER:


      DEFENDANT/RESPONDENT:                   yahoo Incorporate Defendant
                                                                                                                    16       c v 2 9 3 3 0 9,
                                                                                                                 Ref_No. or Fiie No.:
                                           PROOF OF SERVICE OF SUMMONS

                                                       (Separate proof of service is required for each party served.)
      1.      At the time of service I was at least 18 years of age and not a party to this action.
      2.      I served copies of:
              a.      m      summons
              b.     m       complaint
              c.     D       Alternative Dispute Resolution (ADR) package
              d.     [ZJ     Civil Case Cover Sheet (served in complex cases only)
              e.     D       cross-complaint
              f.     W       other (specify documents):          Exhibits A-B-C-D attached to the original complaint filed 3-19-2016
      3.      a. Party served (specify name of party as shown on documents served):
                    Yahoo Incorporate 701 First Ave, Sunnyvale, CA 94089

              b.    D      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                           under item 5b on whom substituted service was made) (specify name and relationship to the party named in Item 3a):


      4.      Address where the party was served:
              701 First Ave Sunnyvale, California 94089
      5.      I served the party (check proper box)
              a.D        by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                         receive service of process for the party (1) on (date):                      (2) at (time):
              b. D           by substituted service. On (date):                     at {lime):            I left the documents listed in item 2 with or
                             in the presence of (name and title or relationship to person indicated in item 3):


                             (1)    D       (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                            of the person lo be served. I informed him or her of the general nature of the papers.

                            <2>    D        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                            place of abode of the party. I informed him or her of the general nature of the papers.

                             (3)   D        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                            address of the person to be served, other than a United States Postal Service post office box. I informed
                                            him or her of the general nature of the papers.
                            (4)    m        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served

0                                           at the place where the copies were left (Code Civ. Proc.,§
                                            (date): 3-19-16       from (city): Failfield, Ohio
                                                                                                         41j"201.
                                                                                                         or
                                                                                                                   I mailed the documents on
                                                                                                                   a declaration of mailing is attached.
                            (5)    D        I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                             Peoe1of2
       Form l\dopllld for Mmidalllry Use                                                                                                  Code of CMI Procedure.§ •17-10
         Judlclal Council of Calllomla                             PROOF OF SERVICE OF SUMMONS
       POS.010 {Rev. January 1. 2007]
                          Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 24 of 44

          PLAINTIFF/PETITIONER:            Brian K. Carter Plaintiff Pro-Se Litigant                        CASE NUMBER:

    -OEFENOANTIRESPONOENT:                 yahoo Incorporate Defendant

c   5.   c.    (I]       by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                         address shown in item 4, by first-class ma~. postage prepaid,
                         (1) on (date):     3-19-2016                                 (2) from (city):   Fairfield Ohio
                         (3)   D        with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                        to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Clv. Proc., § 415.30.)
                         (4)   D         to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

         d.     D        by other means (specify means of service and authorizing code section):



                0        Additional page describing service is attached.

    6. The •Notice to the Person Serve~ (on the summons) was completed as foUows:
          a.    m        as an individual defendant.
          b.    D        as the person sued under the fictitious name of (specify):
          c.    D        as occupant.
          d.    D        On behalf of (specify):
                         under the following Code of Civil Procedure section:
                                    D     416.10 (corporation)                       D    415.95 (business organization, form unknown)
                                    D     416.20 (defunct corporation)               D    416.60 (minor)
                                    D     416.30 ijoint stock company/association)   D    416.70 (ward or conservatee)
                                    D     416.40 (association or partnership)        D    416.90 (authorized person)
                                    D     416.50 (public entity)                     D    415.46 (occupant)
                                                                                     D    other:
    7.   Person who served papers
         a. Name: United States Postal Service
         b. Address: 700 Wessel Dr. Fairfield,                Ohio 45014
         c. Telephone number: {513) 858-1693
         d. The fee for service was: $ 22.95
         e. lam:

                (1)
                (2)
                      §        not a registered California process server.
                               exempt from registration under Business and Professions Code section 22350(b ).
                (3)            a registered California process server.
                               (I)  D      owner    D     employee     D   independent contractor.
                               (ii) Registration No.:
                               (iii) County:

    8.   [!]        I declare under penalty of peljury under the laws of the State of California that the foregoing is true and correct.

                    or
    9.   D          I am a California sheriff or marshal and I certify that the foregoing is true and correct.

    Date:     3-19-2016

    Brian K. Carter Plaintiff Pro-Se Litigant
               (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                             (SIGNAl\JRE)




0
    PQS.010 IR•v January 1. 2007]                                                                                                          Page 2 of 2
                                                           PROOF OF SERVICE OF SUMMONS
Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 25 of 44




                Exhibit C
             Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 26 of 44
                                                                                                    · "JUTACHMENT CV-5012
CIVIL LAWSUIT NOTICE
Superior Court ofCalifornia, County ofSanta Clara                         CASENUMBER: _ _, _d_~_V_2_9_s_a_o_a_._
191 N. RrstSt, SanJose, CA 95113

                                    PLEASE READ THIS ENTIRE FORM

P/.dfN11FF (the peison suing): Within 60 days after filing the lawsuit, you must serve each Defendant with the Complailt,
Summons, an Alternative Dispute Resolution {ADR) Information Sheet. and a copy of this Civi l.JJwsuit Notice, and you must file
written proof of such service.

   OEFENDANT[rtte person sued): You must do each of the following to protect your rights:
   1. You must file a written response to the Complaint. using the proper legal form or format. in the Clerk's Office of the
      Court. within 30 days of the date you were served with the Summons and Complaint.
   2. You must serve by mall a copy of your written response on the Plaintiff's attorney or on the Plaintiff if Plaintiff has no
      attomey (to •serve by mair means to have an adult other than yourself mall a copy); and
   3. You must attend the first Case Management Conference.
                             Warning: If you, as the Defendant, do not follow these instructions,
                                           you may automatically lose this case.

RULES ANO FORMS: You must follow the California Rules of Court and the Superior Court of Callfomla, County of Santa Clara
Local CivU Rules and use proper forms. You can obtain legal Information, view the rules and receive fonns, free of charge, from
the Self-Help Center at 99 Notre Dame Avenue, San Jose (408-882-2900 x-2926), www.scse!fserv!ce.ora (Select •civflj or from:
     •   State Rules and Judicial Council Fonns: www.courtlnfo.ca.gov/folrns and www.courtlnfo.ca.aov/rules
     •   Local Rules and Forms: http://www.sccsuoeriorwurt.org/c!vil/rule1toc.htm

 CASE MANAGEMENT CONFERENCE lCMCJ: You must meet with the other parties and discuss the case, In person or by
telephone, at least 30 calendar days before the CMC. You must also fil out. file and serve a case Management Statement
(Judicial Council form CM-11 O) at least 15 calendar days before the CMC.
          You oryour attorneymust appear at the CMC. You may ask to appear by telephone- see local Civil Rule 8.

    Yo11Case Management Judge is:_P_e_te_r_Kl_rwa_n
                                                  _ _ _ _ _ _ _ _ _ _Department:                                      01

    The 1Jt CMC is scheduledtor. (Completed by Clerk of Court)
                              Date:       Jl ll I 9 2016                  rtme: 10:00am        in Department_0_1_ _
    The next CMC is scheduled for: (Completed by party if the 1• CMC was continued or has passed)
                             Date: _ _ _ _ _ _ _ _ Time: _ _ _ in Department._ __



ALTfRNATTVEDISPUT£RESOLUTIQN lADRJ: If all parties have appeared and filed a completed ADR Stipulation Form (local
fonn CV-5008) at least 15 days before the CMC, the Court wiU cancel the CMC and mail notice of an AOR Status Conference.
Visit the Court's website at www.sccsuoeriortourt.om/civillAQR/ or can the ADR Administrator (408-882·2100 x-2530) for a list of
AOR providers and their qualifications, services, and fees.

WARN/NG; Sanctions may be Imposed If you do not follow the California Rules of Court or the Local Rules of Court.


Farm CV-5012 REV 7I01IOI                            CML LAWSUIT NOTICE                                                      Paptof1
                           SANTA CLARA COUNTY SUPERIOR COURT
                 Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 27 of 44
                              ALTERNATIVE DISPUTE RESOLUTION
                                      INFORMATION SHEET

Many cases can be resolved to the satisfaction of all parties without the necessity of traditional litigation, which can be expensive, time
consuming, and stressful. The Court finds that It Is in the best interests of the parties that they participate In alternatives to traditional
litigation, Including arbitration, mediation, neutral evaluation, special masters and referees, and settlement conferences. Therefore, all
matters shaU be referred to an appropriate form of Alternative Dispute Resolution (ADR) before they are set for trial, unless there Is good
cause to dispense with the ADR requirement

WhatlsADR?
ADR is the general term for a wide variety of dispute resolution processes that are alternatives to litigation. Types of AOR processes
include mediation, arbitration, neutral evaluation, special masters and referees, and settlement conferences, among others forms.

What are the adwntages of choosing ADR Instead of litigation?
ADR can have a number of advantages over litigation:

   •      ADR can save time. A dispute can be resolved In a matter of monthftr even weeks, while litigation can take years .

   •      ADR can save money. Attorney's fees, court costs, and expert fees can be reduced or avoided altogether•

   •      ADR provides more participation. Parties have more opportunities with ADR to express their Interests and concems, instead
          of focusing exclusively on legal rights.

   •      ADR provides more control and flexlbility. Parties can choose the ADR process that is most ftkely to bring a satisfactol'y
          resolution to their dispute.

   •     ADR can reduce stress. ADR encourages cooperation and communication, while discouraging the adversarial atmosphere of
         litigation. Surveys of parties who have participated In an AOR process have found much greater satisfaction than with parties
         who have gone through litigation. ·

What are the main fonns of ADR offered by the Court?
 Mediation Is an informal, confidential, flexible and non-binding process In the mediator helps the parties to understand the Interests of
ev8f)'One involved, and their pradlcal and legal choices. The mediator helps the parties to communicate better, explore legal and practical
seWement options, and reach an acceptable solution of the problem. The mediator does not decide the solution to the cf1Spute; the parties
do.

Mediation may be appropriate when:
   •     The parties want a non-adversary procedure
   •     The parties have a continuing business or personal relationship
   •     Communication problems are interfering with a resolution
   •     There is an emotional element Involved
   •     The parties are Interested In an Injunction, consent decree, or other form of equitable relief

Neutral evaluation, sometimes called ·early Neutral Evaluation" or "ENE", Is an Informal process in which the evaluator, an experienced
neutral lawyer, hears a compact presentation of both sides of the case, gives a non-binding assessment of the strengths and weaknesses
on each side, and predicts the rdcely outcome. The evaluator can help parties to identify issues, prepare stipulations, and draft discovery
plans. The parties may use the neutral's evaluation to discuss settlement

Neutral evaluation may be appropriate when:
   •     The parties are far apart In their view of the law or value of the case
   •     The case Involves a technical Issue In which the evaluator has expertise
   •     Case planning assistance would be helpful and would save legal fees and costs
   •     The parties are Interested In an injunction, consent decree, or other form of equitable relief

                                                                    -over-


CV.S003 REV 8126113             ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                  CML DIVISION fi. f
Arbitration is a less formal
                        Case process  than a trial, with no jury.Document
                                3:17-cv-07086-JSC                 The arbitrator1-1
                                                                                 hearsFiled
                                                                                      the evidence  and arguments
                                                                                             12/13/17        Page of          44 and then
                                                                                                                      28theofpatties
n\akes a written decision. The parties can agree to binding or non-binding atbibaliolL In bhfing artJilration. the aabilalur'sdecision is final
and completely resolves the case, without the opportunity for appeal. In non-bincing atbitration, the arbilratDt'sdecision aJUld resolve the
~·without the opportunity for appeal, unless a party timely rejects the arbltrato(s decision within 30 days and requests a trial. Private
arbitrators are allowed to charge for their time.

Arbitration may be appropriate when:
   •      The action ls for personal Injury, property damage, or breach of contract
   •      Only monetary damages are sought
   •      Witness testimony, under oath, needs to be evaluated
   •      An advisory opinion Is sought from an experienced litigator (If a non-binding arbitration)

CMI Judge ADR allows parties to have a mediation or settlement conference with an experienced judge of the Superior Court Mediation
Is an informal, confidential, flexible and non-binding process in which the judge helps the parties to understand the lntefests of evef)'One
Involved, and their practical and legal choices. A settlement conference ts an infonnal process in which the judge meets with the parties or
their attomeys, hears the racts of the dispute, helps identify Issues to be resolved, and nonnally suggests a resolution that the parties may
accept or use as a basis for further negotiations. The request for mediation or settlement conference may be made promptly by stipulation
(agreement) upon the filing of the Civil complaint and the answer. There Is no charge for this service.

Civil Judge AOR may be appropriate when:
   •     The parties have complex facts to review
   •     The case Involves multiple parties and problems
   •     The courthouse surroundings would he helpful to the settlement process

Special masters and referees are neutral parties who may be appointed by the court to obtain information or to make specific ract
find"mgs that may lead to a resolution of a dispute.
Special masters and referees can be particularly effective in complex cases with a number of parties, like consbuction disputes.

Settlement conferences are infonnal processes in which the neutral (a judge or an experienced attorney) meets with the parties or their
attorneys, hears the facts of the dispute, helps identify issues to be resolved, and normaffy suggests a resolution that the parties may
accept or use as a basis for further negotiations.
Settlement conferences can be effective when the authority or expertise of the judge or experienced attomey may help the parties reach a
resolution.

 WJJat lclnd of disputes can be resolved by ADR?
Although some disputes must go to court, almost any dispute can be resolved through ADR. This Includes disputes involving business
matters; civil rights; collections; corporations; construction; consumer protection; contracts; copyrights; defamation; disabilities;
disaimlnation; employment; environmental problems; fraud; harassment; health care; housing; insurance; lntelledual property; labor;
landlord/tenant media; medical malpractice and other professional negligence; neighborhood problems; partnerships; patents; pemmal
injury; probate; product liability; property damage; real estate; securities; sports; trade seaet; and wrongful death, among other matters.

Whent can you get asslstllnce with selecting an appropriate form of ADR and a neutral for your case. Information about ADR
procedures, or answers to other questions about ADR?

Contact
Santa Clara County Superior Court                                                Santa Clara County DRPA Coordilator
ADR Administrator                                                                408-792-2784
'4()8.882-2530




CV-6003 REV 812e/t3             ALTERNATIVE DISPUTE 'RESOLUTION INFORMATION SHEET
                                                  CIVIL-OMSION
        Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 29 of 44



                     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA
                                       191 N. First Street
                                    San Jose, Ca 95113-1090


TO:     Brian K Carter
        17 Overlook Court
        Fairfield OH 45014




RE:              The House of Figurine Sculptures Ohio LLC et al vs Yahoo Incorporate
Case Number:     16CV293308


                             NOTICE OF CASE MANAGEMENT CONFERENCE
A Case Management Conference has been scheduled for the above entitled case and all parties are
directed to appear in this court on:

Date: 07/26/2016                                      At: 1:30 PM
In: Department 9

1. You must file and serve a completed 'Case Management Conference Statement at least five {5)
calendar days prior to the above scheduled conference.

2. Counsel for each party and each self-represented party shall attend the conference and be fully
prepared to participate effectively.

3. Compliance with all Local Rules of Court is required.

For further information, call the Calendar Office (408)882-2100.

If you, a party represented by you, or a witness to be called on behalf of that party need and
accommodation under the American with Disabilities Act, please contact the Court Administrator's
office at 408-882-2700, or use the Court's TDD line, 408-882-2690 or the voice/TDD California Relay
Service, 800-735-2922.
DECLARATION OF SERVICE BY MAIL: I declare under penalty of perjury that I served this notice by
enclosing a true copy in a sealed envelope, addressed to each person whose name is shown above, and
by depositing the envelope with postage fully prepaid, in the U.S. Mail at San Jose, CA on 04/26/2016
DAVID H. YAMASAKI, Chief Executive Officer/Clerk by Lan Wang, Deputy.

The House of Figurine Sculptures Ohio LLC
17 Overlook Court
Fairfield OH 45014
               Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 30 of 44
                                 SANTA CLARA COUNTY SUPERIOR COURT
                                   ALTERNATIVE DISPUTE RESOLUTION
                                         INFORMATION SHEET

Many cases can be resolved to the satisfaction of all parties without the necessity of traditional litigation, which can be expensive, time
consuming, and stressful. The Court finds that it is in the best interests of the parties that they participate in alternatives to traditional
litigation, including arbitration, mediation, neutral evaluation, special masters and referees, and settlement conferences. Therefore, all
matters shall be referred to an appropriate form of Alternative Dispute Resolution (ADR) before they are set for trial, unless there is good
cause to dispense with the ADR requirement.

 WhatisADR?
ADR is the general tenn for a wide variety of dispute resolution processes that are alternatives to litigation. Types of ADR processes
include mediation, arbitration, neutral evaluation, special masters and referees, and settlement conferences, among others fonns.

What are the advantages of choosing ADR instead of litigation?
ADR can have a number of advantages over litigation:

          ADR can save time. A dispute can be resolved in a matter of months, or even weeks, while litigation can take years.

          ADR can save money. Attorney's fees, court costs, and expert fees can be reduced or avoided altogether.

          ADR provides more participation. Parties have more opportunities with ADR to express their interests and concerns. instead
          of focusing exclusively on legal rights.

          ADR provides more control and flexibility. Parties can choose the ADR process that is most likely to bring a satisfactory
          resolution to their dispute.

          ADR can reduce stress. ADR encourages cooperation and communication, while discouraging the adversarial atmosphere of
          litigation. Surveys of parties who have participated in an AOR process have found much greater satisfaction than with parties
          who have gone through litigation.

What are the main fonns of ADR offered by the Court?
 Mediation is an infonnal, confidential, flexible and non-binding process in the mediator helps the parties to understand the interests of
everyone involved, and their practical and legal choices. The mediator helps the parties to communicate better, explore legal and practical
settlement options, and reach an acceptable solution of the problem. The mediator does not decide the solution to the dispute; the parties
do.

Mediation may be appropriate when:
        The parties want a non-adversary procedure
        The parties have a continuing business or personal relationship
        Communication problems are interfering with a resolution
        There is an emotional element involved
        The parties are interested in an injunction, consent decree, or other form of equitable relief

Neutral evaluation, sometimes called "Earty Neutral Evaluation" or "ENE., is an informal process in which the evaluator, an experienced
neutral lawyer, hears a compad presentation of both sides of the case, gives a non-binding assessment of the strengths and weaknesses
on each side, and predicts the likely outcome. The evaluator can help parties to identify issues, prepare stipulations, and draft discovery
plans. The parties may use the neutral's evaluation to discuss settlement.

Neutral evaluation may be appropriate when:
         The parties are far apart in their view of the law or value of the case
         The case involves a technical issue in which the evaluator has expertise
         Case planning assistance would be helpful and would save legal fees and costs
         The parties are interested in an injunction, consent decree, or other form of equitable relief

                                                                        -over-




CV·5003 REV 6128/13             ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                             l"I\ Ill    l""ll\ 111.'ll"\a.I
                                                 191 N. FIRST STREET
              Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 31 of 44
                                              SAN JOSE, CA 95113~ 1090
                                                                                      FILED
TO:    FILE COPY



RE:                     The House of Figurine Sculptures of Ohio. LLC. et al. v. Yahool Inc.
CASE NUMBER:            16CV293308



                                                  PROOF OF SERVICE

       I am a resident of the State of California, over the age of eighteen years, and not a party to
the within action. My business address is Superior Court, County of Santa Clara, 191 N. 1st Street,
San Jose, California 95113. On APR 2 2 201ti , I served the document entitled Order: Case is
Deemed Not Complex and Complex Fee Refunded to Plaintiff.

ii     By placing a copy of the document(s) listed above for collection and mailing following the
Court's ordinary business practice in a sealed envelope with postage thereon fully prepaid for
deposit in the United States mail at San Jose, California addressed as set forth below.

The House Figurine Sculptures of Ohio LLC
Brian K. Carter
17 Overlook Court
Fairfield. OH 45014

D     By pdf transmission. These documents were transmitted via e-mail to the following e-mail
addresses as set forth below.

       I am readily familiar with the Court's practice of collecting and processing correspondence
for mailing. Under that practice it would be deposited with the U.S. Postal Service on the same day
with postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of
the party service, service is presumed invalid if postal cancellation date or postage meter date is
more than one day after date of deposit for mailinQ in affidavit.

       I declare under penalty of perjury under the laws of the State of California that the above is
true and correct, executed on       , in San Jose, California.
                                 APR 2 2 2016
        For further information, contact the Complex Civil Litigation De.33rt ~;n~, (408) 882-2286.
                                                                                          4
                David H. Yamasaki                                                 ~
                Chief Executive Office, Clerk                              Rowena Walker, Deputy Clerk

If you. a party represented by you, or a witness to be coiled on behalf of that party need on occommodotion under the
American with Disabmties Act, please contact the Court Administrator's office ot (408) 882-2700, or use the Court's TDD fine,
(408) 882-2690 or the Voice/TDD California Relay Service. (800) 735-2922.
Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 32 of 44




                Exhibit D
              Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 33 of 44



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 6                                                                    P.OwF.N.."- WALKER
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 8                                SUPERIOR COURT OF CALIFORNIA
 9                                  COUNTY OF SANTA CLARA
10

11   THE HOUSE OF FIGURINE SCULPTURES                    Case No.: 1-16-CV-293308
     OF OHIO LLC; BRIAN K.. CARTER,
12

13                  Plaintiffs,

14            vs.                                        ORDER: CASE IS DEEMED
                                                         NOT COMPLEX AND COMPLEX
15                                                       FEE REFUNDED TO PLAINTIFF
     YAHOO INCORPORATED,
16
                    Defendant.
17

18

19            WHEREAS the Complaint was filed by Plaintiffs THE HOUSE OF FIGURINE

20   SCULPTURES OF OiilO LLC and BRIAN K.. CARTER ("Plaintiffs") in the Superior Court
21
     of California, County of Santa Clara, on March 29, 2016 and the matter was assigned to
22
     Department 1, the Honorable Peter H. Kirwan presiding, pending a ruling on the complexity
23
     issue;
24

2S            IT IS HEREBY ORDERED that:
26            The Court determines that the above-referenced case is NOT COMPLEX within the
27
     meaning of California Rules of Court 3.400.
28




     The House Figurine Sculptures ofOhio LLC, et aL v. Yahoo Incorporated
     Santa Clara County Superior Court, Case No. I-16-CY-293308
     ORDER: CASE IS DEEMED NOT COMPLEXAND COMPLEX FEE REFUNDED TO PLAINTIFF
          Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 34 of 44
              The matter shall be, and is, reassigned to Department 9, the Hon. Mary E. Arand
 2
     presiding.
 3
              The Case Management Conference set for July 29, 2016 at 10:00 am. in Department 1
 4

 5   is vacated and shall be reset by the Court upon reassignment of the matter.

 6            The Clerk of the Court shall refund the Sl,000 complex fee paid by Plaintiff The House
 7
     Figurine Sculptures of Ohio LLC on March 29, 2016, payable to The House Figurine
 8
     Sculptures of Ohio LLC, 17 Overlook Court, Fairfield, Ohio 45014.
 9
              Plaintiff shall serve a copy of this Order on all the parties in this matter forthwith.
to

11            SO ORDERED.

12



                                 ~                                                      \: ._ . . .". .·~xi---
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14   Dated:    +\      l   .3-       I le.
                                                                 Honorable Peter H. Kllwan
15                                                                Judge of the Superior Court
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     The House Figurine Sculptures ofOhio UC, et al v. Yahoo Incorporated
     Santa Clara County Superior Court, Case No. J-16-CV-293308
     ORDER: CASE JS DEEMED NOT COMPLEX AND COMPLEX FEE REFUNDED TO PU/NTIFF
       Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 35 of 44




                         PROOF OF SERVICE

                                             Case No 16 cv 293308

I declare under penalty of perjmy, I served the following information

to the Defendant Yahoo Inc. as stated below by enclosing a true copy

in enclose sealed envelope to be deliver by U.S. Postal Service overnight

express located at 700 Wessel Dr. Fairfield Ohio 45014 telephone number

(513) 858-1693 on Monday 2, 2016.

Proof of Service

Civil Lawsuit Notice

Endorse Complaint

Endorse Summon/Proof of Summon

ADR Information Sheet


Order: Case Not Deemed Complex

Notice of Case Management Conference Scheduled for 7-26-2016



Date 5-2-2016
                               The House of Figurine Sculptures LLC
                               Brian K. Carter Plaintiff Pro Se
Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 36 of 44




                 Exhibit E
Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 37 of 44
Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 38 of 44
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                 Exhibit F
Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 41 of 44
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                Exhibit G
      Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 43 of 44


 1   KILPATRICK TOWNSEND & STOCKTON LLP
     DENNIS L. WILSON (155407)
 2   dwilson@kilpatricktownsend.com
     RYAN T. BRICKER (State Bar No. 269100)
 3   rbricker@kilpatricktownsend.com
     DARIUS C. SAMEROTTE (296252)
 4   dsamerotte@kilpatricktownsend.com
     Two Embarcadero Center, Suite 1900
 5   San Francisco, CA 94111
     Telephone: 415 576 0200
 6   Facsimile: 415 576 0300

 7   Attorneys for Defendant

 8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                              FOR THE COUNTY OF SANTA CLARA

10
     BRIAN K. CARTER,                            Civil Action No. 16-cv-293308
11
                   Plaintiff,                    NOTICE TO ADVERSE PARTY OF
12                                               REMOVAL TO FEDERAL COURT
            v.
13                                               Date:    October 30, 2017
     YAHOO! INC.,
14                                               Complaint Filed:    March 29, 2016
                   Defendant.
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                       NOTICE TO ADVERSE PARTY OF REMOVAL TO FEDERAL COURT
      Case 3:17-cv-07086-JSC Document 1-1 Filed 12/13/17 Page 44 of 44


 1          TO PLAINTIFF BRIAN K. CARTER (pro se):

 2          PLEASE TAKE NOTICE THAT a Notice of Removal of this action was filed in the

 3   United States District Court for the Northern District of California on December 13, 2017, Civil

 4   Case No. 17-cv-7086.

 5          A copy of the said Notice of Removal is attached to this Notice, and is served and filed

 6   herewith.

 7   DATED: December 13, 2017             Respectfully submitted,
 8                                        KILPATRICK TOWNSEND & STOCKTON LLP
 9

10                                        By: /s/ Dennis L. Wilson
                                              DENNIS L. WILSON
11
                                          Attorneys for Defendant
12

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                       NOTICE TO ADVERSE PARTY OF REMOVAL TO FEDERAL COURT
